                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC,                                  Case No. 17-12560 (BLS)
et al.,1
                                                                     (Jointly Administered)
                              Remaining Debtors.
MICHAEL GOLDBERG, as Liquidating Trustee of
the Woodbridge Liquidation Trust, successor in                       Adversary Proceeding
interest to the estate of Woodbridge Group of                        Case Nos. (See attached Exhibit A)
Companies, LLC, et al.,

                                 Plaintiff,

v.

[SEE ATTACHED EXHIBIT A],

                                    Defendants.

               CERTIFICATION OF COUNSEL REGARDING REQUEST FOR
                          APPOINTMENT OF MEDIATOR

                  The undersigned hereby certifies the following:

                  1.         Michael Goldberg, as Liquidating Trustee of the Woodbridge Liquidation

Trust, successor in interest to the estate of Woodbridge Group of Companies, LLC, et al., (the

“Plaintiff”) filed complaints (the “Complaints”) with the United States Bankruptcy Court for the

District of Delaware (the “Court”) against the defendants listed on Exhibit A hereto (the

“Defendants,” and together with the Plaintiff, the “Parties”).

                  2.         The Defendants in the adversary proceedings listed on Exhibit A (the

“Adversary Proceedings”) filed answers and/or other responsive pleadings to the Complaints and



1 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.



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a proposed form of scheduling order (the “Scheduling Order”) was entered by the Court.

                 3.          Pursuant to the Scheduling Order, the Adversary Proceedings were assigned

to mediation and the Defendants were to provide Plaintiff with a list of three (3) proposed

mediators. Scheduling Order, ¶3. If the Parties cannot agree on a mediator, the Plaintiff shall file

a statement alerting the Court of such inability and request that the Court select and appoint a

mediator for the Adversary Proceedings. Id. at ¶4.

                 4.          The Defendants either failed to respond to multiple requests for a list of

proposed mediators, or, in the case of Adv. Pro. No. 19-50829 (Mary Ellen Nuhn), counsel for the

Plaintiff and Defendant could not agree on a mediator.

                 5.          Accordingly, the Plaintiff requests that the Court select and appoint a

mediator for each of the Adversary Proceedings from the following list of mediators that agreed

to serve if appointed by the Court: (i) Judith Fitzgerald; (ii) Leslie Berkoff; (iii) Lucian Murley;

and (iv) Derek Abbott.

                 6.          The Plaintiff hereby requests selection of a mediator for each of the

Adversary Proceedings at the Court’s convenience.

 Dated:     November 25, 2020                 PACHULSKI STANG ZIEHL & JONES LLP
            Wilmington, Delaware
                                              /s/ Colin R. Robinson
                                              Bradford J. Sandler (DE Bar No. 4142)
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